         Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 1 of 8



                  IN THE UNITED STATES DISTRICT COURT
                         DISTRICT OF MARYLAND

DONALD J. CALLENDER, et al.,                    )
                                                )
      Plaintiffs,                               )
                                                )
v.                                              )      Case No.: 8:17-cv-03249-TDC
                                                )
WADE CALLENDER, et al.,                         )
                                                )
      Defendants.                               )
                                                )


         DEFENDANT ERICA CALLENDER’S MOTION TO DISMISS

      Defendant Erica Callender (“Erica”), by and through undersigned counsel

and pursuant to FED. R. CIV. P. 12(b)(6), respectfully moves to dismiss the single

count brought against her in the above-captioned action by Plaintiffs Donald J.

Callender (“Donald Callender”) and Convergence Management Associates, Inc.

(“CMA”) (collectively “Plaintiffs”), and in support, states as follows:

                                  INTRODUCTION

       In an unfortunate footnote to a previously dismissed proceeding (hereinafter

referred to as the “2015 Action”), Plaintiffs have again sued Erica, this time under a

single theory that she willfully abused the process of this Court by failing to oppose

CMA’s own motion to have the 2015 Action dismissed with prejudice.

      Even a cursory review of the Complaint reveals that the true target of this

action is Erica’s husband (and Donald Callender’s son), co-Defendant Wade

Callender (“Wade”). Erica will defer to Wade’s contemporaneously-filed motion to

address the factual and legal issues directed solely at him.        However, once the
         Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 2 of 8



allegations and claims against Wade are stripped from the Complaint, nothing

remains in support of the sole claim against Erica (other than her consent to a

dismissal). There is no overt act constituting a recognized basis for any abuse of

process claim. Plaintiffs’ failure to recite the base requisite grounds for an abuse of

process claim reflects something obvious: the absence of any requisite grounds for

such a claim.

      The aforementioned deficiencies within Plaintiffs’ claim are compounded by

Plaintiffs’ lack of standing to even assert such a claim. As this Court knows, Donald

Callender was not a party to the 2015 Action at the time of its dismissal in

February 2017. As discussed in the motion filed on Wade’s behalf, CMA similarly

cannot assert an injury in fact, as required to establish legal standing. Because the

Complaint fails to state any claim against Erica upon which relief may be granted,

it must therefore be dismissed, with prejudice.

                                GOVERNING LAW

      A motion to dismiss pursuant to Rule 12(b)(6) provides “a defendant with a

mechanism for testing the legal sufficiency of a complaint.” United Mine Workers of

Am. v. Wellmore Coal Corp., 609 F.2d 1083, 1086 (4th Cir. 1979). Specifically, the

test is to determine whether a complaint alleges sufficient facts to assert a plausible

claim for relief. Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). A plausible claim for

relief exists when the allegations allow “the [C]ourt to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Id. To do so, a

plaintiff must provide grounds for his entitlement to relief, which “requires more



                                          2
           Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 3 of 8



than labels and conclusions, and a formulaic recitation of the elements of a cause of

action . . . .” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). Accordingly,

although this Court must review the complaint in totality, consider its factual

allegations as true, and construe those allegations in the light most favorable to the

plaintiff, Albright v. Oliver, 510 U.S. 266, 268 (1994); Lambeth v. Bd. of Comm’rs of

Davidson Cty., 407 F.3d 266, 268 (4th Cir. 2005), the Court is “not bound to accept

as true a legal conclusion couched as a factual allegation.” Papasan v. Allain, 478

U.S. 265, 286 (1986) (emphasis added).

                                        ARGUMENT

      A.      PLAINTIFFS LACK STANDING TO BRING A CLAIM FOR ABUSE OF
              PROCESS AGAINST ERICA.

      Plaintiffs fundamentally lack standing to assert a claim for abuse of process

against Erica. To assert any cause of action, a party must have standing to do so,

the burden of proving which rests with the party asserting the cause of action.

Khan v. Children’s National Health System, 18 F.Supp.3d 524, 528 (D.Md. 2016)

(citing Hollingsworth v. Perry, --- U.S. ---, 133 S.Ct. 2652, 2661 (2013); Lujan v. Defs

of Wildlife, 504 U.S. 555, 561 (1992)).        To have proper Article III standing, a

plaintiff must establish: (a) that it suffered an injury in fact; (b) that is fairly

traceable to the challenged conduct; and (c) that is likely to be “redressed by a

favorable judicial decision.” Id. (quoting Hollingsworth, 133 S.Ct. at 2661).

      First, the Complaint concedes that, prior to the dismissal of the 2015 Action,

“CMA was substituted in as a [P]laintiff in an amended complaint filed with the

[C]ourt.” See [ECF No. 1] at 4, n. 1. The amended complaint to which Plainitffs


                                           3
            Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 4 of 8



refer, filed on July 13, 2016, named only CMA and Convergex Caribbean Ltd. as

parties – not Donald Callender. 1 Put simply, Donald Callender was not a party to

the 2015 Action at the time the stipulation of dismissal at issue was filed, 2 and

subsequently entered by the Court. 3 As such, he cannot himself assert any injury

arising from the Court’s dismissal. Accordingly, his individual claim against Erica

for abuse of process fails as a matter of law.

       Second, CMA similarly lacks standing to set forth any claim for abuse of

process against Erica, for all the reasons presented in the contemporaneously-filed

Motion to Dismiss or, in the alternative, for Summary Judgment filed on Wade’s

behalf. Those arguments are incorporated by reference as if fully set forth herein,

and likewise serve as grounds to dismiss CMA’s claim against Erica as a matter of

law.

       B.      ASSUMING, ARGUENDO, THAT PLAINTIFFS HAVE STANDING, THEY
               HAVE FAILED TO PROPERLY PLEAD AN ABUSE OF PROCESS CLAIM
               AGAINST ERICA, THUS WARRANTING DISMISSAL UNDER RULE
               12(B)(6).

       Next, even assuming, arguendo, that Plaintiffs possess standing to bring a

claim for abuse of process against Erica, the Complaint fails to set forth all the



       1The amended complaint in question was filed as ECF No. 42 in the 2015
Action. The Court may “take judicial notice of matters of public record…[as well as]
consider documents incorporated into the complaint by reference, as well as those
attached to the motion to dismiss, so long as they are integral to the complaint and
authentic[,]” U.S. ex rel. Oberg v. Pennsylvania Higher Educ. Assistance Agency, 745
F.3d 131, 136 (4th Cir. 2014) (internal quotations and citations omitted), all without
converting this Motion into one seeking summary judgment.
       2   See ECF No. 74 in the 2015 Action.
       3   See ECF No. 75 in the 2015 Action.

                                           4
           Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 5 of 8



necessary elements of such a claim. In order to establish an abuse of process claim

under Maryland law, a plaintiff must properly allege that the named defendant: (a)

“willfully used process after it has issued in a manner not contemplated by law[;]”

(b) acted “to satisfy an ulterior motive[;]” and (c) caused damages to result due to

the “perverted use of process[.]” Metro Media Entertainment, LLC v. Steinruck, 912

F.Supp.2d 344, 350 (D.Md. 2012) (quoting One Thousand Fleet Limited P’ship v.

Guerriero, 346 Md. 29, 38 (1997)) (internal quotations and additional citations

omitted).    The Complaint does not sufficiently allege facts establishing these

elements.

      This particular tort exists to provide a remedy for circumstances where “legal

procedure has been set in motion in proper form, with probable cause, and even

with ultimate success, but nevertheless has been perverted to accomplish an

ulterior motive for which it was not designed.” Id. (quoting Guerriero, 346 Md. at

38) (emphasis added). Here, aside from Plaintiffs’ impermissibly-vague conclusion,

see id. at 12, ¶ 45, no factual allegations are pled to support Plaintiffs’ claim that

Erica possessed an ulterior motive.        The absence of such requisite factual

allegations within the otherwise prolix Complaint only heightens the deficiency of

support.

      In fact, even if this Court gave Plaintiffs the benefit of the worst imaginable

intentions by Erica, Plaintiffs’ claim would still fail because an abuse of process

claim cannot be sustained by a vacant invocation of improper motive. In Maryland,

“abuse of process requires a perversion of court process to accomplish some end



                                          5
          Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 6 of 8



which the process was not designed to accomplish; it does not arise from a regular

use of process, even with ulterior motives.” Attorney Grievance Com’n of Md v.

Roberts, 394 Md. 137, 161 (2006) (quoting Capitol Elec. Co. v. Cristaldi, 157 F.Supp.

646, 648 (D.Md. 1958) (emphasis added) (internal quotations omitted). Plaintiffs’

Complaint does not, and cannot, allege that Erica deviated from the regular use of

any process.

      To wit, this particular Complaint may be most notable for what it does not

allege against Erica: membership among the offending partnership. Nowhere in the

Complaint is Erica even alleged to be a partner of the Falkirk Family Limited

Partnership (“FLLP”), let alone a decision-maker for that entity. The Complaint is

devoid of any allegation that Erica participated in, let alone approved, any of the

alleged acts of which Plaintiffs now complain.        Given the otherwise garrulous

nature of its allegations, the death of any alleged factual or legal connection

whatsoever between Erica and the FFLP’s alleged wrongdoing (i.e., wresting control

of the partnership and, by extension, over CMA and any related property) is

conspicuous. The same is true for any of the alleged FFLP actions about which

Plaintiffs also complain. See generally [ECF No. 1] at 3-7, ¶¶ 12-25. 4

      Instead, Plaintiffs nakedly allege that: (a) Erica was sued, see id. at 3, ¶ 9; (b)

Erica hired attorneys to defend that suit; see id. at 3, ¶ 10; (c) the suit was

dismissed, see id. at 8, ¶ 26; and (d) Erica’s attorney failed to oppose Erica’s


      4   Indeed, if Erica was among the otherwise unnamed “family members” who
voted to take control of the FFLP, Plaintiffs’ failure to say so speaks volumes. See
id. at 3, ¶ 12.

                                           6
         Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 7 of 8



dismissal.   See id. at 9, ¶ 29.   None of these allegations demonstrate a willful

misuse of process by Erica, let alone a misuse of anything that is not contemplated

by law. In essence, as is discussed in the motion filed on behalf of Wade, Erica is

now being sued by a plaintiff with no individual standing (Donald Callender)

because she failed to oppose the dismissal filed by the other plaintiff (CMA).

      The dismissal of the 2015 Action operated within the very framework

intended for use before this Court and the governing Rules. For all of these reasons

– and those contemporaneously argued by Wade – Plaintiffs’ claim for abuse of

process fails as a matter of law and should be dismissed, with prejudice.

      WHEREFORE, Erica Callender respectfully requests that this Court: (a)

grant this Motion; (b) dismiss the lone claim brought against her in this matter,

with prejudice; and (c) grant any further relief it deems necessary under the facts

and circumstances presented herein.



Dated: January 19, 2018                Respectfully submitted,

                                             /s/
                                       Edward P. Parent, Esq. (Bar No. 29370)
                                       SILVERMAN THOMPSON SLUTKIN WHITE, LLC
                                       201 North Charles Street, Suite 2600
                                       Baltimore, Maryland 21201
                                       Phone: (410) 385-2225
                                       Facsimile: (410) 547-2432
                                       nparent@mdattorney.com
                                       Attorney for Defendant Erica Callender




                                          7
        Case 8:17-cv-03249-TDC Document 9 Filed 01/19/18 Page 8 of 8



                          CERTIFICATE OF SERVICE

       I hereby certify that on this 19th day of January, 2018, a copy of the
foregoing document was filed electronically in this Court, and thus served via the
Court’s electronic filing system, Case Management/Electronic Case Files (CM/ECF),
upon the following counsel of record:

                  John E. Carpenter, Esq. (Bar No. 22377)
                  910 17th Street, N.W., Suite 800
                  Washington, D.C. 20006


Dated: January 19, 2018                   /s/
                                     Edward P. Parent, Esq. (Bar No. 29370)




                                        8
